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                                   4                                      UNITED STATES DISTRICT COURT

                                   5                                     NORTHERN DISTRICT OF CALIFORNIA

                                   6

                                   7        VIRGINIA M. LAMBRIX, et al.,                    Case No. 23-cv-01145-TLT
                                                           Plaintiffs,
                                   8
                                                                                            ORDER GRANTING MOTION TO
                                                     v.                                     COMPEL ARBITRATION
                                   9

                                  10        TESLA, INC.,                                    Re: ECF No. 75
                                                           Defendant.
                                  11

                                  12
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 United States District Court




                                  13            Before the Court is Tesla, Inc.’s (“Defendant”) motion to compel arbitration and stay the

                                  14   proceedings of plaintiffs Danielle Thys, Cary Phillips, and Levi Stoffal (collectively “Plaintiffs”).

                                  15   Def.’s Mot. to Compel Arbitration (“Arb. Mot.”), ECF No. 75. Having carefully considered the

                                  16   parties’ briefs, oral arguments, relevant legal authority, and for the reasons below, the Court

                                  17   GRANTS Defendant’s motion to compel arbitration. Accordingly, the Court STAYS the

                                  18   proceedings as to the claims asserted by Plaintiffs Thys, Phillips, and Stoffal only.

                                  19   I.       BACKGROUND

                                  20            A.        Procedural Background

                                  21            Plaintiffs Virginia M. Lambrix, Sean Bose, Patrick Doyle, Philomena Nana-Anyangwe,

                                  22   Andrew Ragone, Anthony Adjuder, Cary Phillips, Jason Pratti, Levi Stoffal, and Danielle Thys

                                  23   initiated this class action lawsuit against Defendant, bringing several causes of action under the

                                  24   Sherman Act, the California Cartwright Act, and the California Unfair Competition Law (“UCL”).

                                  25   Consolidated Amended Class Action Complaint (“Am. Compl.”) passim, ECF No. 63. After

                                  26   Plaintiffs consolidated their lawsuit, Defendant filed the instant motion against Plaintiffs Thys,

                                  27   Phillips, and Stoffal on July 31, 2023. See ECF No. 75. Plaintiffs timely filed an opposition on

                                  28   August 14, 2023. Pls.’ Opp’n to Arb. Mot. (“Opp’n”), ECF No. 80. A reply was timely filed on
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                                   1   August 21, 2023. Def.’s Reply to Opp’n (“Reply”), ECF No. 89. On August 28, 2023, Plaintiffs

                                   2   sought leave to file a Request for Judicial Notice which is decided with the instant motion. Pls.’

                                   3   Mot. for Leave to File Request for Judicial Notice (“Req.”), ECF No. 94. Oral argument on the

                                   4   motion was held on September 6, 2023. See ECF No. 102.

                                   5           B.      Factual Background

                                   6           Defendant is a multinational automotive and clean energy company that designs,

                                   7   manufactures, and sells high-performance battery-electric motor vehicles (“EVs”) intended to be

                                   8   operated on public streets. Am. Compl. ¶¶ 19, 21, 28. Although Defendant’s primary business is

                                   9   selling vehicles to consumers, it also designs and manufactures compatible parts for its EVs and

                                  10   operates over 150 “Service Centers” that provide repair and maintenance services across the

                                  11   United States—46 Service Centers are in California. See id. ¶ 22. Defendant alternatively directs

                                  12   vehicle owners (and lessors) to “Tesla-Approved Collision Centers” or “Tesla-Preferred Collision
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                                  13   Centers” that are independently owned and operated. See id. ¶ 55.

                                  14           Each Plaintiff either purchased or leased a vehicle from Defendant. Following the

                                  15   purchase and lease of their vehicles, Plaintiffs purchased Tesla Repair Services and Tesla-

                                  16   Compatible Parts from Defendant or one of its authorized collision centers. Opp’n 5 (citing Am.

                                  17   Compl. ¶¶ 3, 15, 17-18). Plaintiff Thys and Phillips are both California citizens. Id. ¶¶ 15, 18.

                                  18   Plaintiff Stoffal is an Oregon citizen. Id. ¶ 17.

                                  19                   1.     Plaintiff Danielle Thys
                                  20           On January 5, 2019, Plaintiff Danielle Thys signed a Retail Installment Sales Contract “on

                                  21   every page” when purchasing a 2015 Model S Tesla from Defendant. Decl. of Jasjit Ahluwalia

                                  22   (“Ahluwalia Decl.”) Ex. A at 7, ECF No. 75-2. Thys’ agreement contained an arbitration

                                  23   provision, which stated “[either you or we may choose to have any dispute between us decided by

                                  24   arbitration and not in court or by jury trial.]” Id. The provision obligated Thys to resolve any

                                  25   claim or dispute related to the purchase or condition of the vehicle by neutral binding arbitration.

                                  26   Id. On the second to last page of the agreement, Plaintiff Thys signed under bolded, capitalized

                                  27   text stating:

                                  28
                                                                                           2
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                                   1                  YOU AGREE TO THE TERMS OF THIS CONTRACT. YOU
                                                      CONFIRM THAT BEFORE YOU SIGNED THIS CONTRACT,
                                   2                  WE GAVE IT TO YOU, AND YOU WERE FREE TO TAKE IT
                                                      AND REVIEW IT. YOU ACKNOWLEDGE THAT YOU HAVE
                                   3                  READ ALL PAGES OF THIS CONTRACT, INCLUDING THE
                                                      ARBITRATION PROVISION ON PAGE 7 OF THIS CONTRACT,
                                   4                  BEFORE SIGNING BELOW.
                                   5   Id. at 6.

                                   6                  2.      Plaintiff Cary Phillips
                                   7           On June 7, 2022, Plaintiff Cary Phillips ordered the purchase of a 2022 Model Y Tesla

                                   8   from Defendant. Arb. Mot. 5 (citing Ahluwalia Decl. ¶ 15). To purchase the vehicle online,

                                   9   Defendant explains that consumers are required to click “Place Order” after accessing the order

                                  10   payment screen on an internet-based electronic device. Decl. of Minu Sinha (“Sinha Decl.”) ¶¶ 4,

                                  11   5, 9, ECF No. 75-6. Plaintiff Phillips clicked “Place Order.” Id. The “Place Order” button is

                                  12   accompanied by language that states “[b]y placing this order, I agree to the Model Y Order
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                                  13   Agreement, Terms of Use, and Privacy Notice.” Sinha Decl. ¶ 5. One agreement titled “Model Y

                                  14   Order Agreement” directly hyperlinks consumers to an online copy, which contains an

                                  15   “Agreement to Arbitrate” provision. See id. The provision states:

                                  16                  If you have a concern or dispute, please send a written notice
                                                      describing it and your desired resolution to resolutions@tesla.com. If
                                  17                  not resolved within 60 days, you agree that any dispute arising out of
                                                      or relating to any aspect of the relationship between you and Tesla
                                  18                  will not be decided by a judge or jury but instead by a single arbitrator
                                                      in an arbitration administered by the American Arbitration
                                  19                  Association (AAA) under its Consumer Arbitration Rules. This
                                                      includes claims arising before this Agreement, such as claims related
                                  20                  to statements about our products.
                                  21   Ahluwalia Decl. Ex. B at 3, ECF No. 75-3. The same provision also states “[y]ou may opt out of

                                  22   arbitration within 30 days after signing this Agreement by sending a letter to [Tesla]” and “[i]f you

                                  23   do not opt out, this agreement to arbitrate overrides any different arbitration agreement between

                                  24   us, including any arbitration agreement in a lease or finance contract.” Decl. of Adrian Castaneda

                                  25   (“Castaneda Decl.”) ¶ 5, ECF No. 75-9. Phillips clicked “Place Order.” Sinha Decl. ¶¶ 9.

                                  26   Phillips did not mail an opt-out request letter. Castaneda Decl. ¶ 6.

                                  27   //

                                  28   //
                                                                                         3
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                                                      3.       Plaintiff Levi Stoffal
                                   1
                                              On January 30, 2021, Plaintiff Levi Stoffal entered into an Order Agreement with
                                   2
                                       Defendant to lease a 2021 Tesla Model 3 online. Ahluwalia Decl. Ex. C at 4, ECF No. 75-4. On
                                   3
                                       March 24, 2021, the vehicle was delivered to Plaintiff Stoffal, and upon delivery he signed a lease
                                   4
                                       agreement. Ahluwalia Decl. ¶ 18. The “Stoffal Lease Agreement” contained an arbitration
                                   5
                                       provision that states “[this provision] overrides any different arbitration agreement between us,”
                                   6
                                       intended to mean the Stoffal Lease Agreement supersedes the arbitration clause in the Order
                                   7
                                       Agreement. Ahluwalia Decl. Ex. D at 3. The Stoffal Lease Agreement contained a provision
                                   8
                                       titled “Agreement to Arbitrate” states:
                                   9
                                                      If you have a concern or dispute, please send a written notice
                                  10                  describing it and your desired resolution to resolutions@tesla.com. If
                                                      not resolved within 60 days, you agree that any dispute arising out of
                                  11                  or relating to any aspect of the relationship between you and Tesla
                                                      will not be decided by a judge or jury but instead by a single arbitrator
                                  12                  in an arbitration administered by the American Arbitration
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                                                      Association (AAA) under its Consumer Arbitration Rules. This
                                  13                  includes claims arising before this Agreement, such as claims related
                                                      to statements about our products.
                                  14
                                       Id. The same provision also states “[y]ou may opt out of arbitration within 30 days after signing
                                  15
                                       this Agreement by sending a letter to [Tesla]” and “[i]f you do not opt out, this agreement to
                                  16
                                       arbitrate overrides any different arbitration agreement between us, including any arbitration
                                  17
                                       agreement in a lease or finance contract.” Id. “Plaintiff Stoffal did not mail an opt-out request
                                  18
                                       letter.” Decl. Castaneda ¶ 6.
                                  19
                                       II.    LEGAL STANDARD
                                  20
                                              The Federal Arbitration Act (“FAA”) applies to all contracts involving interstate
                                  21
                                       commerce and states in part that “an agreement in writing to submit to arbitration an existing
                                  22
                                       controversy arising out of such a contract, transaction, or refusal, shall be valid, irrevocable, and
                                  23
                                       enforceable.” 9 U.S.C. § 2. A party seeking to compel arbitration can do so under the FAA. Id. §
                                  24
                                       4. The FAA also governs the enforceability and scope of arbitration agreements. Id. §§ 1-307.
                                  25
                                       “[C]ourts must place arbitration agreements on an equal footing with other contracts and enforce
                                  26
                                       them according to their terms.” AT&T Mobility LLC v. Concepcion, 563 U.S. 333, 339, (2011)
                                  27
                                       (first citing Buckeye Check Cashing, Inc. v. Cardegna, 546 U.S. 440, 443, (2006)); and then citing
                                  28
                                                                                          4
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                                   1   Volt Info. Sci., Inc. v. Bd. of Trs. of Leland Stanford Junior Univ., 489 U.S. 468, 478 (1989).

                                   2           “As the party seeking to compel arbitration, [the defendant] bears the burden of proving

                                   3   the existence of an agreement to arbitrate by a preponderance of the evidence.” See Johnson v.

                                   4   Walmart Inc., 57 F.4th 677, 681 (9th Cir. 2023) (quoting Knutson v. Sirius XM Radio Inc., 771

                                   5   F.3d 559, 565 (9th Cir. 2014)). The FAA reflects both a “‘liberal federal policy favoring

                                   6   arbitration,’ and the ‘fundamental principle that arbitration is a matter of contract.’” Concepcion,

                                   7   563 U.S. at 339 (first quoting Moses H. Cone, Mem’l Hosp. v. Mercury Constr. Corp., 460 U.S. 1,

                                   8   24 (1983); and then quoting Rent-A-Center, W., Inc. v. Jackson, 561 U.S. 63, 67 (2010)).

                                   9           When deciding a motion to compel arbitration, a district court must “treat the facts as they

                                  10   would when ruling on a motion for summary judgment, construing all facts and reasonable

                                  11   inferences that can be drawn from those facts in a light most favorable to the non-moving party.”

                                  12   See Totten v. Kellogg Brown & Root, LLC, 152 F. Supp. 3d 1243, 1249 (C.D. Cal. 2016) (citations
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                                  13   omitted). Additionally, courts apply federal substantive law to questions regarding the

                                  14   interpretation and enforceability of arbitration agreements generally, and state contract law to

                                  15   questions concerning whether the parties agreed to arbitrate. See First Options of Chi., Inc. v.

                                  16   Kaplan, 514 U.S. 938, 944 (1995). To determine whether a state “common law rule makes an

                                  17   agreement to arbitrate unenforceable, [the Court] must consider both the federal law of arbitration

                                  18   and the state rule at issue.” Tompkins v. 23andMe, Inc., 840 F.3d 1016, 1022 (9th Cir. 2016).

                                  19   III.    REQUEST FOR JUDICIAL NOTICE

                                  20           Plaintiffs’ Request for Judicial Notice pursuant to Federal Rules of Evidence Section

                                  21   201(b) is GRANTED. In support of their opposition to the motion to compel, Plaintiffs request

                                  22   that the Court take judicial notice of (1) the full terms of service, including the arbitration

                                  23   provision in Johnson, and (2) the JAMS Streamlined Arbitration rules and Procedures. Req. 1. Of

                                  24   note, the impetus of this request comes in response to Defendant making new arguments in its

                                  25   Reply brief. Id.

                                  26           Rule 201(b) “governs judicial notice of an adjudicative fact only,” and provides for a court

                                  27   to “judicially notice a fact that is not subject to reasonable dispute because it: (1) [i]s generally

                                  28   known within the trial court’s territorial jurisdiction; or (2) can be accurately and readily
                                                                                           5
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                                   1   determined from sources whose accuracy cannot reasonably be questions.” Fed. R. Evid. 201(a)-

                                   2   (b)(2). The Ninth Circuit has explained that “[t]he district court need not consider arguments

                                   3   raised for the first time in a reply brief.” See Zamani v. Carnes, 491 F.3d 990, 997 (9th Cir. 2007)

                                   4   (quoting Koerner v. Grigas, 328 F.3d 1039, 1048 (9th Cir. 2003)). Likewise, courts commonly

                                   5   will not consider evidence submitted for the first time in reply without giving the opposing party

                                   6   an opportunity to respond. Provenz v. Miller, 102 F.3d 1478, 1483 (9th Cir. 1996). However, to

                                   7   the extent any facts in documents are subject to reasonable dispute, the Court will not take judicial

                                   8   notice of those facts. See Lee v. City of Los Angeles, 250 F.3d 668, 689 (9th Cir. 2001).

                                   9          While responsive to arguments made in Plaintiffs’ opposition brief, Defendant indeed

                                  10   argues―for the first time in its reply―that the delegation clause in its agreements with Plaintiffs

                                  11   serve as “‘an additional, antecedent agreement’ that is separate” from an agreement to arbitrate

                                  12   Plaintiffs’ causes of actions. Reply 5 (citing Rent-A-Ctr., W., Inc., 561 U.S. at 68-69). Thus,
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                                  13   contrary to Plaintiffs’ “separate, independent transaction exception” argument made pursuant to

                                  14   Johnson, Defendant suggests that the delegation clause governs the Court’s decision in the instant

                                  15   case and is distinguished from Johnson. Reply 3-6; see also Johnson, 57 F.4th at 683. The Court

                                  16   addresses the substantive issue related to the delegation clause separately below. Procedurally,

                                  17   however, the Court declines to accept new arguments presented for the first time at this stage in

                                  18   the pleadings.

                                  19          Having considered the parties’ briefs, oral arguments on the matter, and relevant legal

                                  20   authority, the Court finds no reason to depart from the Ninth Circuit precedent guiding courts not

                                  21   to consider evidence or argument first submitted on reply. The Court GRANTS Plaintiffs’

                                  22   Request to take judicial notice of (1) the full terms of service, including the arbitration provision in

                                  23   Johnson, and (2) the JAMS Streamlined Arbitration rules and Procedures. During oral argument,

                                  24   the Court recognized that the Defendant, without leave of the Court, proffered a new argument in

                                  25   its reply brief.1 Lambrix et al. v. Tesla, Inc., No. 23-1145 (N.D. Cal. argued Sept. 5, 2023).

                                  26
                                  27
                                       1
                                         It did not escape the Court’s notice that Defendant’s new argument in its reply brief obfuscated
                                       the Court’s page limitations as mandated by Civil Local Rule 7-7. Such conduct could also be
                                  28   interpreted as an effort to sandbag the Plaintiffs. After all, Defendant filed the instant motion on
                                       July 31, 2023 while Johnson v. Walmart, 57 F.4th 677 (9th Cir. 2023) was published on January
                                                                                           6
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                                   1   Plaintiff was allowed to address the issues in oral argument and the Court considered those

                                   2   arguments in its analysis below.

                                   3   IV.    DISCUSSION

                                   4          The Federal Arbitration Act (“FAA”) governs the motion to compel arbitration. 9 U.S.C.

                                   5   §§ 1-16. Under the FAA, when considering if an order compelling arbitration is warranted, a

                                   6   district court determines: (1) whether a valid agreement to arbitrate exists and, if it does, (2)

                                   7   whether the agreement encompasses the dispute at issue. Lifescan, Inc. v. Premier Diabetic

                                   8   Servs., Inc., 363 F.3d 1010, 1012 (9th Cir. 2004). When a court answers both questions in the

                                   9   affirmative, it must “enforce the arbitration agreement in accordance with its terms.” Johnson, 57

                                  10   F.4th at 680–81 (9th Cir. 2023) (citing Revitch v. DIRECTV, LLC, 977 F.3d 713, 716 (9th Cir.

                                  11   2020) (citation omitted). “[W]hile doubts concerning the scope of an arbitration clause should be

                                  12   resolved in favor of arbitration, the presumption does not apply to disputes concerning whether an
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                                  13   agreement to arbitrate has been made.” Goldman, Sachs & Co. v. City of Reno, 747 F.3d 733, 743

                                  14   (9th Cir. 2014) (internal quotation marks omitted). The Motion to Compel Arbitration is

                                  15   GRANTED for the following reasons: (1) Plaintiffs agreed to arbitrate disputes about their

                                  16   vehicles with Defendant; (2) Plaintiffs agreed to delegate their disputes to an arbitrator; and (3)

                                  17   Plaintiffs’ arbitration agreements encompass their antitrust claims.

                                  18          A.      Plaintiffs Agreed to Arbitrate Disputes About Their Vehicles.
                                  19          As a threshold matter, the Court first determines whether the parties agreed to arbitrate.

                                  20   Henry Schein, Inc. v. Archer & White Sales, Inc., 139 S. Ct. 524, 530 (2019) (citing 9 U.S.C. § 2).

                                  21   In ruling on a motion to compel arbitration, a court’s “first principle” is that “[a]rbitration is

                                  22   strictly a matter of consent . . . and thus is a way to resolve those disputes—but only those

                                  23   disputes—that the parties have agreed to submit to arbitration.” See Granite Rock Co. v. Int’l Bhd.

                                  24   of Teamsters, 561 U.S. 287, 299 (2010) (emphasis in original) (citations omitted). Hence, courts

                                  25   use “general state-law principles of contract interpretation to decide whether a contractual

                                  26
                                  27
                                       10, 2023. The Court frowns upon such gamesmanship and should such conduct occur in the
                                  28   future, the offending party may be subject to appropriate sanctions and disciplinary review. See
                                       Civil L.R. 11-6 to 11-8.
                                                                                        7
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                                   1   obligation to arbitrate exists.” See Goldman, Sachs & Co., 747 F.3d at 744; First Options of Chi.

                                   2   Inc., 514 U.S. at 944.

                                   3          California law principles apply to Plaintiffs Thys and Phillips, and Oregon law principles

                                   4   apply to Plaintiff Stoffal. Am. Compl. ¶¶ 15-18. To meet the essential elements for a contract,

                                   5   the law in both states require that the parties to have capacity to contract, consent, a lawful object

                                   6   in their agreement, and to have agreed for consideration to form a valid agreement. See U.S. ex

                                   7   rel. Oliver v. Parsons Co., 195 F.3d 457, 462 (9th Cir. 1999) (citing Cal. Civ. Code § 1550); see

                                   8   also Bliss v. Southern Pac. Co., 212 Or. 634, 646 (1958); see also Reed v. Ezelle Inv. Props. Inc.,

                                   9   353 F. Supp. 3d 1025, 1031 (D. Or. 2018) (citations omitted). As the party seeking arbitration, the

                                  10   defendant bears the burden of proving the existence of an agreement to arbitrate by a

                                  11   preponderance of the evidence. Johnson, 57 F.4th at 681 (citation omitted); Brown v. Stored

                                  12   Value Cards, Inc., No. 15-01370, 2021 WL 5984468, at *1 (D. Or. Dec. 6, 2021), aff’d, No. 21-
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                                  13   36031, 2022 WL 17844168 (9th Cir. Dec. 22, 2022) (citation omitted).

                                  14                  1.        Plaintiff Danielle Thys
                                  15          Plaintiff Thys signed a sales contract to purchase a vehicle from Defendant which

                                  16   contained an arbitration provision. Ahluwalia Decl. ¶ 8, 14. On the second to last page of the

                                  17   agreement, Thys signed under bolded and capitalized text agreeing to the terms of the contract,

                                  18   confirming signature, and that all pages were read. Ahluwalia Decl. Ex. A at 6. As Thys signed

                                  19   on each page, including the page with the arbitration provision, mutual assent is established. See

                                  20   Marin Storage & Trucking, Inc. v. Benco Contracting & Eng’g, Inc., 89 Cal. App. 4th 1042, 1049

                                  21   (2001) (reasoning that “one who signs an instrument which on its face is a contract is deemed to

                                  22   assent to all its terms.”). Of note, Thys raises no claims of unconscionability regarding the sales

                                  23   contract.

                                  24                  2.        Plaintiff Levi Stoffal
                                  25          Plaintiff Stoffal entered into an Order Agreement with Defendant which contained an

                                  26   arbitration provision. Ahluwalia Decl. Ex. C at 4, ECF No. 75-4. Subsequently, Stoffal signed a

                                  27   contract to lease a vehicle from Defendant which also contained an arbitration provision.

                                  28   Ahluwalia Decl. Ex. D at 3, ECF No. 75-5. Oregon courts have deemed that “[a]nything that
                                                                                          8
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                                   1   amounts to a manifestation of a formed determination to accept the offer, communicated to the

                                   2   party [that] making such offer” completes the contract. Ken Hood Const. Co. v. Pac. Coast

                                   3   Const., Inc., 201 Or. App. 568, 579 (2005). In addition, Stoffal did not opt out of the arbitration

                                   4   agreement. Castaneda Decl. ¶ 6. The agreement permitted an opt out within 30 days after signing.

                                   5   Castaneda Decl. ¶ 5. The Ninth Circuit explains that parties are bound to contracts when given a

                                   6   fair and meaningful opportunity to opt out. See Mohamed v. Uber Techs., Inc., 848 F.3d 1201,

                                   7   1210 (9th Cir. 2016) (holding that “if there is an opportunity to opt out, the arbitration agreement

                                   8   is not adhesive, and thus not procedurally unconscionable.”) (citations and internal quotation

                                   9   marks omitted).

                                  10                   3.     Plaintiff Cary Phillips
                                  11          Rather than signing an agreement, Plaintiff Phillips placed an order to purchase a vehicle

                                  12   online, and upon clicking the “Place Order” button agreed to the arbitration agreements provided
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                                  13   through direct hyperlinks. Sinha Decl. ¶ 5. Defendant explains that the text of the agreement was

                                  14   located next to the “Place Order” button, which states “[b]y placing this order, I agree to the

                                  15   Model Y Order Agreement, Terms of Use, and Privacy Notice.” Sinha Decl. ¶¶ 5-6. Phillips

                                  16   disputes assent in this transaction, noting the arbitration clause was not signed, but rather,

                                  17   “clickwrap[ped]” and did not provide inquiry notice. Opp’n 9. Plaintiff, however, misunderstands

                                  18   the standard.

                                  19          “[T]he Ninth Circuit clearly has recognized that while the FAA requires a writing, it does

                                  20   not require that the writing be signed by the parties.” Batory v. Sears, Roebuck & Co., 124 F.

                                  21   App’x 530, 533 (9th Cir. 2005) (quoting Nghiem v. NEC Elec., Inc., 25 F.3d 1437, 1439 (9th Cir.

                                  22   1994). For example, in Cordas v. Uber Techs., Inc., the plaintiff argued that he had not assented

                                  23   to Uber’s terms and conditions because it was a “browsewrap” agreement. 228 F. Supp. 3d 985,

                                  24   990 (N.D. Cal. 2017). By creating an Uber account, the court found that plaintiff was provided

                                  25   with the requisite notice because he was presented with language stating that “[b]y creating an

                                  26   Uber account, you agree to the Terms & Conditions and Privacy Policy” and he clicked “DONE”

                                  27   to complete setting up his account. See id. In other words, the plaintiff did not assent to the terms

                                  28   and conditions by passively viewing a screen. See id. Rather, the plaintiff was required to
                                                                                          9
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                                   1   affirmatively assent to the agreement by clicking “DONE” to complete the process of the

                                   2   transaction because without doing so the user could not create an account. See id. By creating the

                                   3   account, the Court noted that the plaintiff “affirmatively acknowledged the agreement” and was

                                   4   bound by its terms. See id.

                                   5          The same is true of Phillips. When purchasing a vehicle from Defendant, Phillips was

                                   6   required to click a “Place Order” button accompanied by language that stated “[b]y placing this

                                   7   order, I agree to the Model Y Order Agreement.” Arb. Mot. 9; Sinha Decl. ¶¶ 5, 9. As the

                                   8   agreement directly hyperlinked Plaintiff to an online copy of the arbitration provision, and since

                                   9   Plaintiff could not purchase the vehicle without clicking “Place Order”, it is evident that Phillips

                                  10   affirmatively acknowledged and assented to the agreement. Id. Phillips also did not opt out of the

                                  11   agreement. Castaneda Decl. ¶ 6. Phillips was given a fair and meaningful opportunity to opt out,

                                  12   and thus, the arbitration agreement is not adhesive. See Mohamed, 848 F.3d at 1210) (an
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                                  13   arbitration agreement is not adhesive if there is an opportunity to opt out).

                                  14          Given the foregoing, the Court finds that Plaintiffs assented to the arbitration agreements.

                                  15          B.      Plaintiffs Agreed to Delegate their Disputes to an Arbitrator.
                                  16          A delegation provision is an agreement to arbitrate “threshold issues” or gateway questions

                                  17   concerning the arbitration agreement. Rent-A-Ctr., W., Inc., 561 U.S. at 69. Although courts

                                  18   generally resolve gateway questions of arbitrability, “such as whether the parties have agreed to

                                  19   arbitrate or whether their agreement covers a particular controversy,” the parties may also delegate

                                  20   the adjudication of arbitrability issues to an arbitrator. See id. If gateway issues are delegated to

                                  21   an arbitrator, the court must enforce that antecedent agreement only when there is clear and

                                  22   unmistakable evidence of consent to the delegation clause itself. See Henry Schein, Inc., 139 S.

                                  23   Ct. at 524; see also First Options of Chi., 514 U.S. at 944. Whenever contracting parties delegate

                                  24   the question of arbitrability to an arbitrator, courts typically enforce the agreement as written. See

                                  25   Henry Schein, Inc., 139 S. Ct. at 526 (“[A] court may not override the contract, even if the court

                                  26   thinks that the arbitrability claim is wholly groundless.”)

                                  27          As discussed above, the parties entered agreements that contained arbitration provisions.

                                  28   Thys’ agreement states that “[a]ny claim or dispute . . . including the interpretation and scope of
                                                                                         10
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                                   1   this [a]rbitration [p]rovision, and the arbitrability of the claim or dispute. . . .” shall be resolved by

                                   2   binding arbitration. Ahluwalia Decl. Ex. A at 7. The statement is clear and unmistakable. The

                                   3   express language indicates that the Thys assented to the delegation of arbitrability.

                                   4           Phillips and Stoffal’s agreements state that “any dispute arising out of or relating to any

                                   5   aspect of the relationship between you and [Defendant] will not be decided . . . by a single

                                   6   arbitrator in an arbitration administered by the American Arbitration Association (AAA) under its

                                   7   Consumer Arbitration Rules.” Ahluwalia Decl. Ex. B at 3; Ahluwalia Decl. Ex. D at 3. The Ninth

                                   8   Circuit has observed “[v]irtually every circuit to have considered the issue has determined that

                                   9   incorporation of the [AAA] arbitration rules constitute clear and unmistakable evidence that the

                                  10   parties agreed to arbitrate arbitrability.” Oracle America, Inc. v. Myriad Group A.G., 724 F.3d

                                  11   1069, 1074 (9th Cir.2013). Accordingly, Defendant has met its burden of proving that Plaintiffs

                                  12   entered into agreements to arbitrate and presents clear and unmistakable evidence that the parties
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                                  13   delegated arbitrability to an arbitrator.

                                  14           C.      Plaintiffs’ Arbitration Agreements Encompass their Causes of Action.
                                  15                   1.      Plaintiffs Challenge the Existence of their Agreements.
                                  16           The Court turns next to whether Plaintiffs’ agreements encompass the dispute at issue. See

                                  17   Lifescan, Inc., 363 F.3d at 1010. Defendant argues that, at this juncture, the Court need only

                                  18   confirm that Plaintiffs agreed to delegate arbitrability. Arb. Mot. 8-10. Conversely, Plaintiffs

                                  19   contend that their antitrust claims do not arise out of the contract containing the arbitration

                                  20   agreement, but instead are related to a subsequent and separate, independent transaction. Opp’n 1,

                                  21   6-9.

                                  22           The Ninth Circuit explains that, where the arbitrability of a dispute is contested, courts

                                  23   must decide “whether the parties are contesting the existence or the scope of an arbitration

                                  24   agreement.” Goldman, Sachs & Co., 747 F.3d at 742 (emphasis in original). “A party can be

                                  25   forced to arbitrate only those issues it has specifically agreed to submit to arbitration . . .” First

                                  26   Options of Chi., Inc., 514 U.S. at 945. In the face of any ambiguity, “under the federal

                                  27   presumption in favor of arbitration, an arbitrator would have jurisdiction to arbitrate claims.”

                                  28   Comedy Club, Inc. v. Improv W. Assocs., 553 F.3d 1277, 1285 (9th Cir. 2009). Nevertheless, the
                                                                                           11
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                                   1   presumption in favor of arbitrability does not apply when the parties contest the existence of an

                                   2   arbitration agreement. Goldman, Sachs & Co., 747 F.3d at 742.

                                   3          In Johnson v. Walmart Inc., the plaintiff purchased a set of tires online from Walmart.com.

                                   4   Johnson, 57 F.4th at 679. Upon finalizing the transaction, he agreed to the Walmart.com Terms of

                                   5   Use. Id. The agreement contained an arbitration provision requiring “all disputes arising out of or

                                   6   related to the Terms of Use . . . be resolved through final and binding arbitration.” Id. (internal

                                   7   quotation marks omitted). After receiving the tires by mail, the plaintiff had them installed at a

                                   8   Walmart Auto Care Center and, while waiting, purchased a lifetime service agreement from

                                   9   Walmart at a separate, additional cost. Id. at 680. When he was later denied service, the plaintiff

                                  10   filed a putative class action and Walmart moved to compel arbitration. Id. Walmart argued that

                                  11   the plaintiff agreed to arbitrate when he purchased tires from Walmart.com and agreed to the

                                  12   Terms of Use which extended to his in-store purchase. Id. The plaintiff contended the agreement
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                                  13   did not encompass the service agreement and the Ninth Circuit agreed, determining that the

                                  14   plaintiff contested the existence, not the scope, of an arbitration agreement covering the dispute.

                                  15   Id. at 681, 683.

                                  16          Here, Plaintiffs similarly contest the existence, not the scope of their agreement with

                                  17   Defendant. They claim the purchase or lease of their EVs represented one transaction and the

                                  18   purchase of subsequent repair services, maintenance, or compatible parts replacement was a

                                  19   separate, independent transaction. Opp’n at 1, 6-9. As a result, Plaintiffs assert that they are not

                                  20   bound to the arbitration provision in their purchase or lease agreements because their injuries are

                                  21   wholly related to the second transaction. Id. Therefore, the presumption in favor of arbitration is

                                  22   inapplicable and the Court must interpret the terms of Defendant’s agreements with Plaintiffs.

                                  23                  2.      Plaintiffs’ Arbitration Agreements Apply to their Antitrust Claims.
                                  24          In California and Oregon, a contract must be interpreted to give effect to “the mutual

                                  25   intention” of the parties as it existed at the time of contract formation. Cal. Civ. Code. § 1636; Or.

                                  26   Rev. Stat. Ann. § 42.240. “To determine the reach of a particular agreement, we must look to its

                                  27   express terms.” Walsh v. Arizona Logistics, Inc., 998 F.3d 393, 396 (9th Cir. 2021)). California

                                  28   and Oregon courts analyze the words of a contract, given their usual and ordinary meaning in
                                                                                         12
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                                   1   connection with the rest of the agreement. See Valencia v. Smyth, 185 Cal. App. 4th 153, 176

                                   2   (2010); see also Yogman v. Parrott, 325 Or. 358, 361 (1997). Similarly, both states interpret the

                                   3   words of the contract “as a whole.” See Int’l Bhd. of Teamsters v. NASA Servs., Inc., 957 F.3d

                                   4   1038, 1042 (9th Cir. 2020); see also Slocum v. Lang, 132 Or. App. 571, 576 (1995).

                                   5                           a.      Plaintiff Danielle Thys
                                   6           Defendant’s arbitration provision in Plaintiff Thys’ agreement states:

                                   7                   Any claim or dispute, whether in contract, tort, statute or otherwise
                                                       (including the interpretation and scope of this Arbitration Provision,
                                   8                   and the arbitrability of the claim or dispute), between you and us or
                                                       our employees, agents, successors or assigns, which arises out of or
                                   9                   relates to your credit application, purchase or condition of this
                                                       vehicle, this contract or any resulting transaction or relationship
                                  10                   (including any such relationship with third parties who do not sign
                                                       this contract) shall, at your or our election, be resolved by neutral,
                                  11                   binding arbitration and not by a court action.
                                  12   Ahluwalia Decl. Ex. A at 7 (emphasis in original). The relevant words of the provision are “any
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                                  13   claim or dispute . . . between you and us . . . which arises out of or relates to your . . . purchase or

                                  14   condition of this vehicle. . . .” Id.; Arb. Mot. 4. As a preliminary matter, Thys’ “claim or dispute”

                                  15   is that she was required to “pay supracompetitive prices and suffered exorbitant wait times to

                                  16   maintain and repair their Tesla vehicles.” Am. Compl. ¶ 1. “[Y]ou and us” references Defendant

                                  17   as the seller and Thys as the purchaser of the vehicle subject to agreement. The question concerns

                                  18   whether “condition of this vehicle” pertains only to the purchase, or alternatively, if it extends to

                                  19   post-purchase services related to the vehicle.

                                  20           The plain meaning of “condition of this vehicle” tends to relate to functionality, aesthetic,

                                  21   or operability of the vehicle. By definition, “condition”, in the context of purchasing a vehicle,

                                  22   means “the state of something with regard to its appearance, quality, or working order.”

                                  23   Condition, OXFORDDICTIONARIES.COM (Sept. 14, 2023), https://premium.oxforddictionaries.com-

                                  24   /definition/english/condition. Under this definition, maintenance, repair services, and compatible

                                  25   parts replacement are all services that sufficiently relate to the “quality” or “working order” of the

                                  26   vehicle Thys purchased from Defendant. Those services were not purchased in relation to

                                  27   anything else except the vehicle purchased from Defendant. Therefore, the arbitration agreement

                                  28   extends to transactions related Thys’ claims regarding the upkeep of her vehicle.
                                                                                          13
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                                                              b.       Plaintiffs Cary Phillips and Levi Stoffal
                                   1
                                              The relevant words of Defendant’s arbitration agreements with Plaintiffs Phillips and
                                   2
                                       Stoffal states that “any dispute arising out of or relating to any aspect of the relationship between
                                   3
                                       you and [Defendant] will not be decided . . . by a single arbitrator in an arbitration.” Ahluwalia
                                   4
                                       Decl. Ex. B at 3; Ahluwalia Decl. Ex. D at 3; see Section I.B.2-3 supra.
                                   5
                                              The plain meaning “any aspect” tends to refer to any matter related to the vehicle itself,
                                   6
                                       since it forms the basis of the agreement and is the reason the parties are contracting. Specifically,
                                   7
                                       “aspect” means “a particular part or feature of a situation, an idea, [or] a problem.” Aspect,
                                   8
                                       OXFORDDICTIONARIES.COM (Sept. 14, 2023), https://premium.oxforddictionaries.com/-
                                   9
                                       definition/english/aspect. Under this definition, the maintenance, repair services, and compatible
                                  10
                                       parts replacement are all services that relate to the purchase of the vehicle. The vehicle itself is the
                                  11
                                       object or “particular part” of the agreements formed amongst the parties.
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                                              The plain meaning of “relationship” tends to explain how one party is associated with the
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                                  13
                                       other party in forming the agreement. “Relationship” means “[t]he way in which two or more
                                  14
                                       people or things are connected, or the state of being connected. Relationship,
                                  15
                                       OXFORDDICTIONARIES.COM (Sept. 14, 2023), https://premium.oxforddictionaries.com/definition/-
                                  16
                                       english/relationship. Under this definition, Defendant and Plaintiffs are “connected” by contract
                                  17
                                       for the purchase or lease of their vehicles. Defendant is the seller and Plaintiffs are the purchaser
                                  18
                                       and lessor. Therefore, the arbitration agreement extends to transactions related to Phillips and
                                  19
                                       Stoffals claims regarding the upkeep of their vehicles.
                                  20
                                                              c.      Plaintiffs’ Agreements Extend to their Subsequent Agreements.
                                  21
                                              In sum, the arbitration provision extends to Plaintiffs’ antitrust claims, which concern the
                                  22
                                       repair, maintenance, and replacement of parts in their vehicles. Am. Compl. ¶ 1. As interpreted,
                                  23
                                       the arbitration agreement covers the condition or working order of the vehicle. In addition, the
                                  24
                                       arbitration agreement covers any aspect of the relationship. Said differently, the arbitration
                                  25
                                       agreement applies directly to Plaintiffs’ claims because they raise disputes regarding the condition
                                  26
                                       of the vehicles which connect the parties, and the dispute is about repairing or maintaining those
                                  27
                                       vehicles. As a result, the arbitration agreement extends to subsequent transactions between
                                  28
                                                                                         14
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                                   1   Plaintiffs and Defendant concerning services related to the maintenance, repair, or replacement

                                   2   parts of their vehicles.

                                   3                   3.         Plaintiffs’ Separate Transactions are Interrelated, Thus the Arbitration
                                                                  Clause Applies.
                                   4
                                               Plaintiffs’ final argument is that they are not bound by the arbitration agreements because
                                   5
                                       the purchase or lease of the vehicles is a separate and independent transaction from their purchase
                                   6
                                       of parts and services because the agreements required separate negotiation, separate mutual assent,
                                   7
                                       and separate consideration. See Opp’n 7-8. As such, the arbitration agreements in the sale or
                                   8
                                       lease agreements do not extend to their subsequent service agreements. Id. The Court disagrees.
                                   9
                                       Although Plaintiffs’ transactions were separate, they were not independent. Plaintiffs’ separate
                                  10
                                       transactions are interrelated in an ongoing series of transactions. Thus, the arbitration clause
                                  11
                                       applies.
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                                               To determine the connection between two transactions, the Ninth Circuit advises that
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                                  13
                                       courts apply the interrelatedness test. Where the first of two contracts are a “discrete agreement,
                                  14
                                       the lack of an arbitration clause means disputes over the agreement are not subject to arbitration.”
                                  15
                                       Johnson, 57 F.4th at 682-83 (quoting Archexpo, 68 F.3d at 340). “But where two contracts are
                                  16
                                       merely interrelated contracts in an ongoing series of transactions, an arbitration provision in one
                                  17
                                       contract could apply to subsequent contracts.” See id. Courts must consider whether the
                                  18
                                       arbitration clause in the first agreement controls the separate agreements of the parties. See
                                  19
                                       Archexpo, 68 F.3d at 340. In Johnson, the Ninth Circuit has considered such factors as whether
                                  20
                                       the agreements (1) were separate and independent of one another, (2) differed substantially, and
                                  21
                                       (3) contain the proof necessary to establish arbitration claims under the second agreement are
                                  22
                                       sufficiently related to the dispute under the first agreement. Johnson, 57 F.4th at 683 (citing
                                  23
                                       Archexpo, 68 F.3d at 340).
                                  24
                                               In Archexpo, the plaintiff organized tours and informational visits in Russia under two
                                  25
                                       divisions: the “Citizen Ambassador Program (‘CAP’), and “State Leadership Initiative (‘SLI’).”
                                  26
                                       Archexpo, 68 F.3d at 338. The defendant facilitated the tours organized by the plaintiff. Id. at
                                  27
                                       338-39. The parties entered two agreements: the first between CAP and the defendant to perform
                                  28
                                                                                          15
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                                   1   services a tour for non-state officials; and the second between SLI and the defendant for a tour by

                                   2   a state delegation. Id. at 339. Following the first agreement with CAP, a dispute arose about

                                   3   performance in the first agreement, which led to the cancellation of the second agreement. Id.

                                   4   The plaintiff filed a complaint in federal court and the defendant moved for arbitration in Moscow,

                                   5   Russia. Id. Both were awarded judgements and in assessing which judgement to enforce the

                                   6   Ninth Circuit analyzed the interrelatedness of the contracts. Id. at 339-40.

                                   7          The Ninth Circuit explained that the CAP and SLI agreements were separate and

                                   8   independent because they concerned two “separate tour types” and two “completely different

                                   9   groups of tourists.” Archexpo, 68 F.3d at 340. The court also determined that the SLI agreement

                                  10   contained no arbitration clause, indicating an intention to treat it differently. Id. Finally, the court

                                  11   held that the two agreements were not interrelated stating that, “the proof necessary to establish

                                  12   [the defendant’s] Moscow arbitration claims under the [SLI] agreement has nothing to do with the
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                                  13   dispute under the [CAP] agreement.” Id. These factors together were substantial evidence the

                                  14   agreements were independent and separate of one another. Id.

                                  15          The Ninth Circuit applied the same logic in Johnson. 57 F.4th at 682-83. The plaintiffs’

                                  16   service agreement was “negotiated and entered into separately” from the agreement to purchase

                                  17   tires. Id. at 683. The contracts involved separate consideration because the first was for the sale

                                  18   goods related to the online purchase and the second was for performance of services related to the

                                  19   in-person purchase and unrelated to Walmart.com’s Terms of Use. Id. The proof needed to bring

                                  20   the breach of contract claim rested entirely on the second agreement to purchase tires—the

                                  21   plaintiff would have brought the claim against Walmart “whether he purchased the tires from

                                  22   Walmart or another retailer.” Id. Together, these factors amounted to substantial evidence.

                                  23          The facts here are distinguishable from Archexpo and Johnson because the arbitration

                                  24   clause in the purchase or lease agreement controls the second agreement for services and parts. It

                                  25   is true, as Plaintiffs contend, that the first and second agreements between the parties were

                                  26   separate; however, they were not independent of one another. Opp’n 6-7. In Archexpo, the

                                  27   agreements were separate and independent because they concerned two different tour types and

                                  28   groups of customers. Archexpo, 68 F.3d at 340. In Johnson, the agreements were separate and
                                                                                          16
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                                   1   independent because the arbitration agreement under Walmart.com’s Terms of Use for the

                                   2   purchase of tires did not extend to the plaintiffs’ purchase of services for the tires under the first

                                   3   agreement. Johnson, 57 F.4th at 683.

                                   4          Here, like Archexpo and Johnson, the agreements are separate because they concern

                                   5   different purchased items—the vehicles purchased are goods while the repair and maintenance

                                   6   transactions are services. But unlike Archexpo, the separate agreements are not independent

                                   7   because the purchases concern the same customers and are services for the vehicles purchased. In

                                   8   other words, Plaintiffs’ transactions for their vehicles and the subsequent purchase of maintenance

                                   9   related services are an ongoing series of transactions related to conditioning their vehicles. The

                                  10   transactions for services are dependent on owning or leasing the EVs in the first place. Unlike

                                  11   Johnson, the arbitration clause in the transactions to purchase or lease Plaintiffs’ vehicles extends

                                  12   to their subsequent purchase of services for those same vehicles.
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                                  13          In addition, the first of two agreements in both Archexpo and Johnson were discrete and

                                  14   differed substantially because the second agreement contained no arbitration clause, meaning the

                                  15   parties intended to treat the second transaction differently. Here, as discussed above, the parties

                                  16   mutually assented to arbitrate issues about Plaintiffs’ vehicles evidenced by the arbitration

                                  17   provisions that extend to “the condition of the vehicle” or “all aspects of the relationship” between

                                  18   the parties. In other words, the first agreement applies to the subsequent servicing of Plaintiffs’

                                  19   vehicles. Although the second transaction lacks an arbitration clause, the Court has established the

                                  20   first agreement extends to the second agreement by contract interpretation.

                                  21          Finally, Defendant provides the proof necessary to establish arbitration claims under the

                                  22   second agreement are sufficiently related to the dispute under the first agreement. In both

                                  23   Archexpo and Johnson, the proof needed to bring those plaintiffs’ claims for breach of contract

                                  24   required that one contract relate or extend to the other agreement. Archexpo, 68 F.3d at 340;

                                  25   Johnson, 57 F.4th at 683. Here, the same barrier does not exist because Plaintiffs’ purchase or

                                  26   lease of their vehicles does extend to the repair and maintenance of their vehicles. Plaintiffs

                                  27   causes of action relate to “pay[ing] supracompetive prices and suffer[ing] exorbitant wait times to

                                  28   maintain and repair their Tesla vehicles.” Am. Compl. ¶ 1. The proof is the recognized relation
                                                                                          17
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                                   1   between the first and second contracts between Plaintiffs and Defendant as interpreted by this

                                   2   Court. No dispute about anti-competitiveness in the Tesla repair or services aftermarkets would

                                   3   exist as asserted unless Plaintiffs contracted for vehicles from Defendant. This is distinct from

                                   4   Johnson, where the plaintiff would have brought his claim for breach of contract with the same

                                   5   evidence and arguments regardless of whether he bought the tires from Walmart or not. Johnson,

                                   6   57 F.4th at 683. As a result, Plaintiffs’ arguments fall short of the evidence required to

                                   7   substantially prove that the agreements are independent. Accordingly, Plaintiffs’ separate

                                   8   transactions were not independent. Therefore, the arbitration provisions in the first agreements

                                   9   apply to the second agreements. In other words, the first agreements control the subsequent

                                  10   agreements which are the basis for Plaintiffs’ antitrust claims. Thus, the arbitration clause is valid

                                  11   and will be enforced by the Court.

                                  12   V.     CONCLUSION
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                                  13          The Court finds that (1) Plaintiffs agreed to arbitrate their disputes when purchasing and

                                  14   leasing vehicles from Defendant; (2) Plaintiffs agreed to delegate their disputes to an arbitrator;

                                  15   and (3) Plaintiffs’ arbitration agreements encompass their antitrust claims.

                                  16          For the foregoing reasons, Defendant’s motion to compel arbitration against Plaintiffs

                                  17   Danielle Thys, Cary Phillips, and Levi Stoffal is GRANTED. This action is stayed pending

                                  18   arbitration proceedings of these plaintiffs’ claims only. The parties are ORDERED to file a joint

                                  19   statement regarding the status of Plaintiffs Thys, Phillips, and Stoffal’s claims within seven (7)

                                  20   days of the conclusion of the arbitration proceedings. This resolves docket nos. 75 and 94.

                                  21          IT IS SO ORDERED.

                                  22   Dated: September 26, 2023

                                  23

                                  24
                                                                                                      TRINA L. THOMPSON
                                  25                                                                  United States District Judge
                                  26
                                  27

                                  28
                                                                                         18
